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                          UNITED STATES DISTRICT COURT

                                              for the

                                  District of Massachusetts


 JOSE MARIA DECASTRO, an individual               )   Case No. 1:22-cv-11421
                                                  )
 Plaintiff,                                       )   OPPOSITION TO DEFENDANT
                                                  )   YOUTUBE (GOOGLE LLC)’S
 v.                                               )   MOTION FOR LEAVE TO FILE A
                                                  )   REPLY IN SUPPORT OF ITS MOTION
 JOSHUA ABRAMS, an individual, et al.,            )   TO TRANSFER OR DISMISS
                                                  )
 Defendants.                                      )
 ____________________________________             )


                                            INTRODUCTION

              Plaintiff Jose DeCastro (“Plaintiff”), offers the following response to Defendant

YouTube (GOOGLE LLC) (“YouTube” or “Defendant”)’s Motion for Leave to File a Reply in

Support of Google LLC’s Motion to Transfer or Dismiss (ECF No. 124). In support of this

response, Plaintiff submits a memorandum of law, which is fully incorporated herein.

      In general, Defendant YouTube’s forty-nine (49) page Motion to Transfer Case to Northern

District of California, Motion to Dismiss for Failure to State a Claim (ECF No. 121) was filed

with many defects and failed to raise arguments. In that Motion, YouTube asked the court to do

its work for it by vaguely asserting that Plaintiff’s complaint had “glaring pleading failures”, but

that the court need not even look at those because Plaintiff had filed in the wrong court.

YouTube goes on to only argue the “most obvious” problem besides that, in that Plaintiff didn’t

allege that the copyrighted works were registered.

      Now YouTube wants to attempt to cure the deficiencies in its motion by adding additional
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arguments that it didn’t initially raise. Not that a reply brief cures the deficiencies in a motion.

The fact remains that YouTube’s motion is requesting specific relief that will not be amended by

a reply.

                                    POINTS AND AUTHORITIES

     A. YouTube has not cited any rule that allows it to reply to an opposition. YouTube

has cited Local Rule 7.1(b)(3) which requires permission to file a reply, but YouTube has not

cited in its motion any authority that would allow the court to grant relief under the instant

motion to make said reply.

     B. Plaintiff raised no new arguments. YouTube falsely alleges that Plaintiff raised new

issues in Plaintiff’s opposition, which is ludicrous. Plaintiff was merely pointing out errors in

YouTube’s two arguments, where YouTube argues (1) failure to allege registration of the

copyright, and (2) suing in the wrong court. Plaintiff clearly pointed out answers in the way of

(1) a Supreme Court decision has made it clear that a copyright complaint does not require

allegations that the work is registered unless the issue is raised, and (2) the TOS does not apply.

     YouTube could have easily checked the catalog of registered copyrights prior to filing its

motion but instead YouTube relied on a baseless hope that Plaintiff had not registered any works.

In doing so, YouTube relied on the argument that Plaintiff had not alleged any registration at all,

not that the registration was untimely.

     YouTube asserts that Plaintiff is claiming that a “different license” applies, but Plaintiff did

not make those claims. Plaintiff only points out a different and more relevant section of the TOS

that YouTube attached in its exhibits.

     C. If YouTube is able to make a reply with new arguments, it doesn’t add those

arguments to the motion which is before this Court and Plaintiff will require a surreply to



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point out the deficiencies in YouTube’s new arguments. It will be a waste of this Court’s

time and cause unnecessary expense to the other parties. In Plaintiff’s surreply, he would

argue:

     (1) YouTube inappropriately raises the alleged “untimely” copyright registration of

Plaintiff’s video, but the video was actually registered prior to the second supplemental

complaint in where it is mentioned. As YouTube is clearly unaware of how supplemental

complaints work, I must explain to them that they contain claims that have occurred since the

original complaint was made. It was YouTube’s decided and the Court allowed YouTube to wait

to file an answer or dispositive motion until after the Plaintiff’s second supplemental complaint

was filed. YouTube waiting appears to be what actually made YouTube’s new arguments

untimely. Plaintiff’s second supplemental complaint was not opposed by any party and was

granted by this Court. The video that YouTube describes was registered prior to Plaintiff’s

second supplemental complaint which contains the claim for that video. This makes YouTube’s

argument irrelevant that a copyright registration must occur prior to filing of a complaint, which

YouTube supports only with an unpublished irrelevant case anyway.

     (2) Cortes-Ramos v. Martin-Morales, No. 16-1223 (DRD), 2020 U.S. Dist. LEXIS 152384

(D.P.R. Aug. 21, 2020) is an unpublished case that YouTube cites, where in it was decided that

where a copyright holder had filed a registration late that the district court should not have

dismissed the action with prejudice. Instead, it was decided that the action should have been

dismissed without prejudice. Here, Plaintiff has previously moved for voluntary dismissal

without prejudice, but this Court has denied it. Additionally, the copyright holder in Cortes-

Ramos, id. could not cure the defect by amending the complaint. Here, Plaintiff can cure any

defect in failing to allege copyright registration by simply alleging registration in his second



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supplemental complaint. Here, YouTube has waived its right to additional 12(b)(6) arguments

such as late registration without amending its motion. Here, if Plaintiff cannot amend its

complaint, only the claims in Plaintiff’s first amended complaint under 17 U.S.C. § 106(1) will

be lost, but the first and second supplemental claims would survive as well as claims under 17

U.S.C. § 501, which don’t require registration according to statute.

     Additionally, Cortes-Ramos, id. ultimately relies on (at *9) a district court case in the 2nd

Cir. where the Court admits to parting ways “with several courts that have held that a post-

registration amendment can cure the defect in a complaint filed before a copyright claim was

registered within the meaning of Section 411(a)”. See Malibu Media, LLC v. Doe, No. 18-CV-

10956 (JMF), 2019 U.S. Dist. LEXIS 56578, at *9 (S.D.N.Y. Apr. 2, 2019).

     (3) Plaintiff has already conceded that a copyright complaint under 17 U.S.C. § 106(1) can

be dismissed where it is raised that the work has not been at least preregistered, and that work in

fact has not been preregistered. That did not happen in this action. YouTube did not raise that

matter and the work has in fact been registered. Plaintiff has also previously argued that the U.S.

Supreme Court has said that a copyright complaint does not require allegations of copyright

registration in Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 111 S. Ct. 1282 (1991).

     (4) YouTube wants to add new allegations based on moot points on registration. In general,

Courts have agreed that they lack the jurisdiction to make a ruling on a moot issue, but have

done so only in the matter of public interest. See Muskrat v. United States, 219 U.S. 346, 31 S.

Ct. 250 (1911) and Flast v. Cohen, 392 U.S. 83, 88 S. Ct. 1942 (1968).

     (5) Plaintiff never published the key video in its complaint. YouTube says that this fact

contradicts Plaintiff’s FAC, but the key video in this complaint was not mentioned until

Plaintiff’s request to make a second supplemental complaint and is also mentioned in the second



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supplemental complaint itself. The video is obviously not mentioned at all in the Plaintiff’s FAC,

except under the confused facts asserted by YouTube. The key video is also properly registered

according to YouTube’s argument in the instant motion.

                                             CONCLUSION

      Again, YouTube should at least be required to read the complaints in their entirety and

plead relevant arguments, and to wait to plead its arguments until it has leave to do so.

      Plaintiff prays that this Court deny YouTube’s motion to file a reply to its opposition, as

Plaintiff has raised no new issues. YouTube’s intent to make new arguments would also be

fruitless.

                                            DECLARATION

      I declare under penalty of perjury, that the foregoing is true and correct.

                    CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)
      The court has waived this local rule for the remainder of this action.


Dated: June 3, 2023                                Respectfully submitted,

                                                   /s/ Jose DeCastro
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                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.

                                                   /s/ Jose DeCastro




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